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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 REPORTERS COMMITTEE
 FOR FREEDOM OF THE PRESS,
               Plaintiff,                                      Case 1:17-cv-01701-RC
           v.
 FEDERAL BUREAU
 OF INVESTIGATION, et al.,
               Defendants.

          PLAINTIFF’S CONSENT MOTION FOR AN EXTENSION OF TIME

       Plaintiff Reporters Committee for Freedom of the Press respectfully requests a two-week

extension of time to file their opposition to Defendants’ motion for partial summary judgment

and Plaintiff’s motion for partial summary judgment and for all subsequent briefing deadlines.

Plaintiff’s motion is currently due on August 31, 2018. A complete revised schedule with all

deadlines extended by two weeks is set forth in the proposed order filed with this motion.

       This is the first time Plaintiff has needed to seek an extension of time to file during the

course of this litigation. Counsel for Plaintiff has conferred with counsel for Defendants, and

Defendants consent to the relief requested herein. The extension is warranted by the press of

undersigned counsel’s other litigation responsibilities.

Dated: August 23, 2018                                Respectfully Submitted,


                                                        /s/ Katie Townsend
                                                      Katie Townsend
                                                      D.C. Bar No. 1026115
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